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Fill in this information to identify the case:

Debtor name       Sky Media Pay, Inc

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF FLORIDA

Case number (if known)     21-20444-LMI
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing




Official Form 425A

Plan of Reorganization for Small Business Under Chapter 11                                                                                                          02/20


 Sky Media Pay, Inc 's Plan of Reorganization, Dated May 22, 2022
[If this plan is for a small business debtor under Subchapter V, 11 U.S.C. § 1190 requires that it include "(A) a brief history of the business operations of the debtor;
(B) a liquidation analysis; and (C) projections with respect to the ability of the debtor to make payments under the proposed plan of reorganization." The
Background section below may be used for that purpose. Otherwise, the Background section can be deleted from the form, and the Plan can start with "Article 1:
Summary"]
Background for Cases Filed Under Subchapter V
          A. Description and History of the Debtor's Business
              The Debtor is an advertising sales agent for television stations, it began purchasing real estate. The business began and has been operating since
              December 2000.
          B. Liquidation Analysis
             To confirm the Plan, the Court must find that all creditors and equity interest holders who do not accept the Plan will receive at least as much under
             the Plan as such claim and equity interest holders would receive in a chapter 7 liquidation. A liquidation analysis is attached to the Plan as Exhibit
             A .
          C. Ability to make future plan payments and operate without further reorganization
              The Plan Proponent must also show that it will have enough cash over the life of the Plan to make the required Plan payments and operate the
              debtor’s business.
              The Plan Proponent has provided projected financial information as Exhibit B          .
              The Plan Proponent’s financial projections show that the Debtor will have projected disposable income (as defined by § 1191(d) of the Bankruptcy
              Code) for the period described in § 1191(c)(2) of $ 26,619.00 monthly            .
              The final Plan payment is expected to be paid on February 2025             .
              You should consult with your accountant or other financial advisor if you have any questions pertaining to these projections.

            Article 1: Summary
          This Plan of Reorganization (the Plan) under chapter 11 of the Bankruptcy Code (the Code) proposes to pay creditors of Sky Media Pay, Inc (the
          Debtor) from [Specify sources of payment, such as an infusion of capital, loan proceeds, sale of assets, cash flow from operations, or future income].
          This Plan provides for:          1 classes of priority claims;
                                           10 classes of secured claims;
                                           2 classes of non-priority unsecured claims; and
                                           0 classes of equity security holders.
          Non-priority unsecured creditors holding allowed claims will receive distributions, which the proponent of this Plan has valued at
          approximately .02     cents on the dollar. This Plan also provides for the payment of administrative and priority claims.
          All creditors and equity security holders should refer to Articles 3 through 6 of this Plan for information regarding the precise treatment of their claim. A
          disclosure statement that provides more detailed information regarding this Plan and the rights of creditors and equity security holders has been
          circulated with this Plan.
          Your rights may be affected. You should read these papers carefully and discuss them with your attorney, if you have one. (If you do not have
          an attorney, you may wish to consult one.)


            Article 2: Classification of Claims and Interests

2.01    Class 1                            All allowed claims entitled to priority under § 507(a) of the Code (except administrative expense claims under §
                                           507(a)(2), ["gap" period claims in an involuntary case under § 507(a)(3),] and priority tax claims under § 507(a)(8)).

                                            The priority claim of the IRS




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2.02     Class 2                        The claims of International Finance Bank two (2) separate claims, Imperial Fund, LLC, MCI Capital, On Deck Capital,
                                        Swift FInancial and the four (4) separate claims of Epic West Condominium Association to the extent allowed as a
                                        secured claim under § 506 of the Code.



2.03     Class 3                        All non-priority unsecured claims allowed under § 502 of the Code, includes the claims of Regions Bank, Wells Fargo,
                                        Florida Power and Light, l, l and two (2) separate claims of American Express.

                                        [Add other classes of unsecured claims, if any.]
2.04     Class 4                        Equity interests of the Debtor. NONE


            Article 3: Treatment of Administrative Expense Claims, Priority Tax Claims, and Quarterly and Court Fees

3.01     Unclassified claims            Under section § 1123(a)(1), administrative expense claims, [“gap” period claims in an involuntary case allowed under § 502(f) of
                                        the Code,] and priority tax claims are not in classes.


3.02     Administrative expense         Each holder of an administrative expense claim allowed under Â§ 503 of the Code, as follows, SubChapter V
         claims                         Trustee $8,000 and Attorney fee of $12,000 payable upon confirmation from funds held by Attorney, remainder to be
                                        paid in 6 months.

3.03     Priority tax claims            Each holder of a priority tax claim will be paid [Specify terms of treatment consistent with § 1129(a)(9)(C) of the Code].
                                        IRS to receive $504.26 payable at plan confirmation.



3.04     Statutory fees                 All fees required to be paid under 28 U.S.C. § 1930 that are owed on or before the effective date of this Plan have been
                                        paid or will be paid on the effective date.


3.05     Prospective quarterly fees     All quarterly fees required to be paid under 28 U.S.C. § 1930(a)(6) or (a)(7) will accrue and be timely paid until the case
                                        is closed, dismissed, or converted to another chapter of the Code


            Article 4: Treatment of Claims and Interests Under the Plan


4.01     Claims and interests shall be treated as follows under this Plan:


                                       Class                                  Impairment                  Treatment
                                       Class 1 - Priority claims                  Impaired                Included in Article 3
                                       excluding those in Article 3
                                                                                  Unimpaired
                                       Class 2 – Secured claim of                 Impaired                 Proof of Claim 8: International Finance
                                       International Bank, IFB Proof of           Unimpaired
                                       Claims 8 and 9
                                                                                                           Bank, Unit 4811, 32 months in a plan that
                                                                                                           pays $2847.29 monthly, for a total of
                                                                                                           $91,113.28 and afterwards a balloon
                                                                                                           payment on the balance. Parties agree to
                                                                                                           sell for no less than $488,381 up to the POC
                                                                                                           secured claim amount minus any payments
                                                                                                           previously made.


                                                                                                           Proof of Claim 9: International Finance Bank,
                                                                                                           Unit 4801, 32 months in a plan that pays
                                                                                                           $8,773.23 for a total of $280,743.36 and
                                                                                                           afterwards a balloon payment on the
                                                                                                           balance. Parties agree to sell for no less than
                                                                                                           $968,284.80 up to the POC secured claim
                                                                                                           amount minus any payments previously
                                                                                                           made.

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                                 Class 2, Secured claim of         Impaired            Imperial Fund, LLC, Proof of Claim 15, Debtor
                                 Imperial Fund LLC, Proof of       Unimpaired          sold 200 Biscayne Blvd. Way, Unit 4704, Miami,
                                 Claim 15
                                                                                       FL 33131 on May 13, 2022. At closing, Imperial
                                                                                       Fund was paid a total of $840,000.00 for full
                                                                                       satisfaction of the debt.




                                                                   Impaired
                                 Class 2, Secured, claim of                            MCI Capital, 200 Biscayne Blvd Way, Unit 4712,
                                                                   Unimpaired
                                 MCI Capital, Proof of Claim 16
                                                                                       to be surrendered at confirmation. Creditor is
                                                                                       granted stay relief upon confirmation.




                                                                                       Epic West Condominium Association, Proof Of
                                 Class 2, Secured claim of                             Claim 11, 200 Biscayne Blvd Way, Unit 4704,
                                 Epic West Condominium             Impaired
                                                                                       Miami, FL 33131 was sold May 15, 2020. Creditor
                                 Association, Claims 11, 12, 13,   Unimpaired
                                 14                                                    was paid $90,398.84 for full satisfaction of the
                                                                                       debt.

                                                                                       Epic West Condominium Association, POC 12,
                                                                                       200 Biscayne Blvd. Way, Unit 4712 to be
                                                                                       surrendered at confirmation. Creditor is granted
                                                                                       stay relief upon confirmation.

                                                                                       Epic West Condominium Association, POC 13,
                                                                                       Unit 4811, regular monthly payment of
                                                                                       $1577.07 plus arrears $4,960.83 monthly for 12
                                                                                       months.

                                                                                       Epic West Condominium Association, POC 14,
                                                                                       Unit 4801, regular monthly payment of
                                                                                       $3132.60 plus arrears $9,565.70 monthly for 12
                                                                                       months.




                                 Class 2, Secured, claim of                            Reduce claim to $22,487.00 with 4% interest,
                                                                   Impaired
                                 On Deck Capital Claim 10                              payable $742.03 over 32 months.
                                                                   Unimpaired




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                                      Class 2, Secured, claim of             Impaired                 Reduce claim to $30,000 payable $937.50
                                      Swift Financial Claim 4                Unimpaired               over 32 months.




                                      Class 3 – Non-priority                 Impaired                 Class 3 totals $636,677, the class shall share in a total
                                      unsecured creditors                                             distribution of $14,529.55 over 32 months. Payments
                                                                             Unimpaired               shall be distributed pro rata on a monthly basis,
                                                                                                      commencing on the first of the month after the Effective
                                                                                                      Date. The pro rata distribution to the Class 3 Claimholders
                                                                                                      shall be in full satisfaction, settlement, release and
                                                                                                      discharge of their respective Allowed Class 3 Claims

                                      Class 4 - Equity security                                       None
                                      holders of the Debtor


            Article 5: Allowance and Disallowance of Claims

5.01     Disputed Claim               A disputed claim is a claim that has not been allowed or disallowed [by a final non-appealable order], and as to which either:
                                      (i) a proof of claim has been filed or deemed filed, and the Debtor or another party in interest has filed an objection; or
                                      (ii) no proof of claim has been filed, and the Debtor has scheduled such claim as disputed, contingent, or unliquidated.


5.02     Delay of distribution on a   No distribution will be made on account of a disputed claim unless such claim is allowed [by a final non-appealable order].
         disputed claim

5.03     Settlement of disputed       The Debtor will have the power and authority to settle and compromise a disputed claim with court approval and
         claims                       compliance with Rule 9019 of the Federal Rules of Bankruptcy Procedure.


            Article 6: Provisions for Executory Contracts and Unexpired Leases

6.01     Assumed executory            (a) The Debtor assumes, and if applicable assigns, the following executory contracts and unexpired leases as of the
         contracts and unexpired          effective date:
         leases                           [List assumed, or if applicable assigned, executory contracts and unexpired leases.]


                                      (b) Except for executory contracts and unexpired leases that have been assumed, and if applicable assigned, before the
                                          effective date or under section 6.01(a) of this Plan, or that are the subject of a pending motion to assume, and if
                                          applicable assign, the Debtor will be conclusively deemed to have rejected all executory contracts and unexpired
                                          leases as of the effective date.
                                          A proof of a claim arising from the rejection of an executory contract or unexpired lease under this section must be
                                          filed no later than     days after the date of the order confirming this Plan.


            Article 7: Means for Implementation of the Plan




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                                          [Insert here provisions regarding how the plan will be implemented as required under § 1123(a)(5) of the Code. For example, provisions
                                          may include those that set out how the plan will be funded, including any claims reserve to be established in connection with the plan, as
                                          well as who will be serving as directors, officers or voting trustees of the reorganized Debtor.]



               Article 8: General Provision

8.01     Definitions and rules of         The definitions and rules of construction set forth in §§ 101 and 102 of the Code shall apply when terms defined or
         construction                     construed in the Code are used in this Plan, and they are supplemented by the following definitions:
                                          [Insert additional definitions if necessary].


8.02     Effective Date                   The effective date of this Plan is the first business day following the date that is 14 days after the entry of the confirmation
                                          order. If, however, a stay of the confirmation order is in effect on that date, the effective date will be the first business day
                                          after the date on which the stay expires or is otherwise terminated.


8.03     Severability                     If any provision in this Plan is determined to be unenforceable, the determination will in no way limit or affect the
                                          enforceability and operative effect of any other provision of this Plan.


8.04     Binding Effect:                  The rights and obligations of any entity named or referred to in this Plan will be binding upon, and will inure to the benefit
                                          of the successors or assigns of such entity.


8.05     Captions                         The headings contained in this Plan are for convenience of reference only and do not affect the meaning or interpretation
                                          of this Plan.


[8.06    Controlling Effect               Unless a rule of law or procedure is supplied by federal law (including the Code or the Federal Rules of Bankruptcy
                                          Procedure), the laws of the State of FL      govern this Plan and any agreements, documents, and instruments executed
                                          in connection with this Plan, except as otherwise provided in this Plan.]


[8.07    Corporate Governance             [If the Debtor is a corporation include provisions required by § 1123(a)(6) of the Code.]


[8.08    Retention of Jurisdiction        The bankruptcy court’s jurisdiction extends after the effective date of the plan.


               Article 9: Discharge


                                                                [Include the appropriate provision in the Plan]



[Discharge if the Debtor is a corporation under Subchapter V]
If the Debtor’s Plan is confirmed under § 1191(a), on the effective date of the Plan, the Debtor will be discharged from any debt that arose before confirmation of
this Plan, to the extent specified in § 1141(d)(1)(A) of the Code, except that the Debtor will not be discharged of any debt:
          (i) imposed by this Plan; or
          (ii) to the extent provided in § 1141(d)(6).
If the Debtor’s Plan is confirmed under § 1191(b), confirmation of this Plan does not discharge any debt provided for in this Plan until the court grants a discharge
on completion of all payments due within the first 3 years of this Plan, or as otherwise provided in § 1192 of the Code. The Debtor will not be discharged from any
debt:
          (i) on which the last payment is due after the first 3 years of the plan, or as otherwise provided in § 1192;
          or
          (ii) excepted from discharge under § 523(a) of the Code, except as provided in Rule 4007(c) of the Federal Rules of Bankruptcy Procedure.


               Article 10: Other Provisions


                                                [Insert other provisions, as applicable.]




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                                      The PROPOSED PROVISIONS RELATING TO TRUSTEE APPOINTED UNDER
                                      SUBCHAPTER V OF CHAPTER 11 as attached is incorporated into this plan.

                                      Mortgage payments are being adjusted only, all other terms of the underlying loan
                                      documents and mortgage, which are not being modified by the Plan, shall
                                      remain in full force and effect.

                                      Missed payments on secured debt, including the balloon payments allow
                                      secured creditors relief from the automatic stay, with 7 days notice, unless
                                      payments are brought current within the notice period.




    Respectfully submitted,

                              X /s/ Paola Angulo                                                Paola Angulo
                                [Signature of the Plan Proponent]                               [Printed name]



                              X /s/ Roshawn Banks                                               Roshawn Banks 156965
                                [Signature of the Attorney for the Plan Proponent]              [Printed name]




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                      EXHIBIT A
Debtor Name Sky Media
                 CasePay, Inc
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Exhibit A : Liquidation Analysis

Plan Proponent's Estimated Liquidation Value of Assets

ASSETS

a. Cash on hand                                                           $                 108,857

b. Accounts receivable                                                    $                   1,011

c. Inventory                                                              $                     -

d. Office Furniture and Equipment                                         $                   2,500

e. Machinery and Equipment

f. Automobiles                                                            $                     -

g. Building, Land
Storage Epic Suite                                                        $              2,000,000
4801 / 4811                                                               $
                                                                          $


Customer List

Investment Property (such as Stocks, Bonds, other Financial assets        $                     -

Lawsuits or other claims against third parties

Other Intangibles (such as avoiding powers actions)                       $                     -

Total Assets at Liquidation Value                                         $              2,112,368
Less Secured creditors' recoveries                                        $              2,224,319
Less Chapter 7 trustee fees and expenses
Less Chapter 11 administrative expenses                                   $                   22,000
Less Priority claims, excluding administrative expense claims             $                     504
Less Debtor's claimed exemptions

(1) Balance for unsecured claims                                          $                          -

(2) Total dollar amount of unsecured claims                               $                 636,677
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                      EXHIBIT B
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                                                                                SKY MEDIA PAY, INC

                                                                         PROJECTIONS - YEAR 2022-2023


                                    July*         August    September     October      November     December      January  February  March    April    May      June
                                                                                                                      2023      2023    2023     2023    2023      2023
ADVERTISING INCOME              $     5,761   $     6,000   $   10,000    $   15,000   $   15,000   $   20,000   $ 20,000 $ 25,000 $ 25,000 $ 30,000 $ 30,000 $ 15,000

       RENTAL UNITS




SUITE 4801 and 4811             $    20,000   $    20,000   $   20,000   $    20,000   $   20,000   $   20,000   $   20,000   $   20,000   $   20,000   $   20,000   $   20,000   $   20,000




RENT STORAGES EPIC              $     1,200   $     1,200   $    1,200   $     1,200   $    1,200   $    1,200   $    1,200   $    1,200   $    1,200   $    1,200   $    1,200   $    1,200

RENT CAGES EPIC

TOTAL INCOME RENT               $    21,200   $    21,200   $   21,200   $    21,200   $   21,200   $   21,200   $   21,200   $   21,200   $   21,200   $   21,200   $   21,200   $   21,200

ADVERTISING AND RENT INCOME     $    26,961   $    27,200   $   31,200   $    36,200   $   36,200   $   41,200   $   41,200   $   46,200   $   46,200   $   51,200   $   51,200   $   36,200

COST ADVERTISING                $ 4,032.70    $     4,200   $    7,000   $    10,500   $   10,500   $   14,000   $   14,000   $   17,500   $   17,500   $   21,000   $   21,000   $   10,500




NET INCOME                      $    22,928   $    23,000   $   24,200   $    25,700   $   25,700   $   27,200   $   27,200   $   28,700   $   28,700   $   30,200   $   30,200   $   25,700

Suites 4801 and 4811 are listed for sale
Upon confirmation, Debtor should be holding at least $103,000
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                       EXHIBIT C
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PROPOSED PROVISIONS RELATING TO TRUSTEE APPOINTED UNDER SUBCHAPTER V OF CHAPTER 11

   1. CONSENSUAL PLAN - If the plan of the debtor is confirmed under section 1191(a) of the
      Bankruptcy Code, the service of the trustee appointed under Subchapter V of Chapter 11 (the
      “Subchapter V Trustee” or “Trustee”) in the case shall terminate when the plan has been
      substantially consummated. As such, the debtor shall make all payments under the plan,
      including any deposits required by the plan to be distributed on confirmation.
   2. NON-CONSENSUAL OR CRAMDOWN PLAN - If the plan is confirmed under section 1191(b) of the
      Bankruptcy Code, except as otherwise provided in the plan or in the order confirming the plan,
      the Subchapter V Trustee shall make payments to creditors under the plan. As such, the
      following provisions shall apply to all claims and disbursements made by the Subchapter V
      Trustee under the plan:
           a. The debtor shall file with the Court as a supplement to the plan and provide notice to all
              creditors at or before confirmation, a list of all the creditors who will be receiving
              payments under the plan, the total amount to be paid to each creditor under the plan
              (inclusive of all allowed interest and fees) and the payment terms and schedule for each
              creditor under the plan.
           b. The debtor shall timely pay to the Trustee all funds needed to make payments to
              creditors under the plan. If the debtor fails to timely make any plan payment to the
              Trustee, the Trustee may file and serve a notice of delinquency upon the debtor and the
              debtor's attorney. The debtor shall have 45 days from the date of the notice of
              delinquency to make all payments due under the plan, including any payments that
              become due within the 45−day period. If the debtor is seeking to cure the delinquency
              in a modified plan the debtor must file a motion to modify the confirmed plan within 45
              days of the date of the notice of delinquency. If the debtor is not current with plan
              payments on the 45th day after the date of the notice of delinquency or has not filed a
              motion to modify within that time period, the Trustee will file and serve a report of
              non−compliance and may thereafter seek the dismissal or conversion of the case to
              Chapter 7.
           c. Within two (2) weeks of receiving the funds from the debtor to make the plan
              payments, the Trustee will disburse the amounts collected from the debtor, to the
              holders of allowed claims pursuant to the treatment in their respective classes and as
              indicated below:
                  i.   All payments under the plan will be made by the Trustee to the holder of
                       each allowed claim at the address of such holder as listed on the Schedules
                       and/or Proof of Claim, unless the Trustee has been notified in writing of a
                       change of address.
                 ii.   Any payment required to be made under the plan on a day other than a
                       business day shall be made on the next succeeding business day.
                iii.   Any distributions of cash or other property under the plan that is unclaimed for
                       a period of six (6) months after such distribution was made shall constitute
                       unclaimed property and any entitlement of any holder of any claim to such
                       distribution shall be extinguished, forever barred, and shall be returned to the
                       Debtor.
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             iv.    Claimants shall not be permitted to amend or otherwise modify any claim
                    after the later of the claims bar date or the confirmation date without
                    leave of the Bankruptcy Court. Any amendment to a claim filed after the
                    later of the claims bar date or the confirmation date shall be deemed
                    disallowed in full and expunged without any action by the Trustee unless
                    the claimholder has obtained prior Court authorization for the filing of
                    such amendment. The Trustee shall have no obligation to recognize any
                    transfer of any claim after distributions have started.
              v.    Unless expressly provided in the plan or the confirmation order, post-
                    petition interest and fees shall not accrue on or after the Petition Date on
                    account of any claim.
       d. During the pendency of this case, the debtor shall provide copies of yearly income tax
           returns to the Trustee (but not file with the Court) no later than 30 days after the due
           date to the underlying taxing authority.
3. COMPENSATION - Under section 330 of the Bankruptcy Code, the case-by-case Subchapter V
   Trustee shall be compensated for services and reimbursed for expenses. However, the method
   of payment of the Subchapter V Trustee compensation depends on the provision under which
   the plan is confirmed:
       a. The Subchapter V Trustee compensation is estimated to be $_8,000_________ through
           confirmation. The Subchapter V Trustee will apply to the Court for an award of
           compensation through the application process that is used by professionals. The
           Subchapter V Trustee will file a final fee application for compensation to be heard with
           the other final fee applications in the case.
       b. If the plan is confirmed on a consensual basis under section 1191(a) of the Bankruptcy
           Code, then the Subchapter V Trustee’s service ends with substantial consummation of
           the plan under section 1183(c)(1), and the Subchapter V Trustee may collect approved
           compensation for all services. The Subchapter V Trustee’s allowed compensation, as
           with any other administrative expenses, is payable on the effective date of the plan,
           unless the Subchapter V Trustee agrees to a different treatment.
       c. If the plan is confirmed on a non-consensual basis under section 1191(b) of the
           Bankruptcy Code, then the Subchapter V Trustee will remain in place throughout the life
           of the plan, and the Subchapter V Trustee may be entitled to additional compensation
           for services provided after confirmation. As such, the Subchapter V Trustee may file
           additional or supplemental fee applications throughout the life of the plan. Upon
           approval of the Trustee’s fee applications in a non-consensual case, as long as all
           professional administrative claims are similarly treated in the plan, the debtor shall pay
           all fee amounts due to the Trustee on the effective date of the plan, over the remaining
           life of the plan, or forthwith.
